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                          UNITED STATES DISTRICT COURT
   15                    CENTRAL DISTRICT OF CALIFORNIA
   16 IRONSHORE SPECIALTY                 :   Case No. 2:21-cv-01272–DDP (ASx)
   17 INSURANCE COMPANY,                  :
                                          :
              Plaintiff,                  :   Hon. Dean D. Pregerson
   18                                     :
   19        v.                           :   RULE 26(f) JOINT REPORT
                                          :
   20 UNIVERSITY OF SOUTHERN              :
      CALIFORNIA, et al.,                 :   Date: June 5, 2023
   21                                     :   Time: 11 a.m.
               Defendants.                :
                                          :   Courtroom: 9C
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    1
              Pursuant to Federal Rule of Civil Procedure 26(f), Central District Local Rule
    2
        26-1, and this Court’s Order Setting Scheduling Conference, Plaintiff Ironshore
    3
        Specialty Insurance Company (“Ironshore”) and Defendants the University of
    4
        Southern California (“USC”) and George R. Tyndall (collectively referred to as the
    5
        “parties”) hereby submit this Joint Report of Meeting under Rule 26(f), which took
    6
        place by telephone on May 11, 2023.
    7
              1.     Statement of the Case
    8
              Ironshore’s Contentions
    9
              This is an insurance dispute concerning an excess healthcare professional
   10
        liability coverage policy that Ironshore issued to USC for the policy period of July
   11
        1, 2017 to July 1, 2018 (the “Ironshore Policy”). The Ironshore Policy provides
   12
        limits of $20 million each occurrence and aggregate excess of $80 million each
   13
        occurrence and $90 million aggregate.
   14
              This coverage dispute arises out of claims asserted by former patients of
   15
        Dr. Tyndall, whom USC employed as a staff physician. The patients alleged that
   16
        Dr. Tyndall had sexually abused or harassed them in the guise of performing
   17
        gynecological examinations. Without admitting liability, USC and Dr. Tyndall
   18
        settled the underlying lawsuits and claims (the “Tyndall Litigation”). Ironshore paid
   19
        its $20 million limit toward the Tyndall Litigation settlements subject to a full
   20
        reservation of Ironshore’s right to seek reimbursement.
   21
              In this action, Ironshore seeks a declaration that Ironshore did not have a duty
   22
        to defend or indemnify USC in the Tyndall Litigation under the terms of the
   23
        Ironshore Policy and Section 533 of the California Insurance Code. (Count I.) As
   24
        described in more detail in the Complaint, Ironshore contends that coverage is not
   25
        available for the various putative claims made in the Tyndall Litigation for
   26
        intentional acts or otherwise that sound in non-negligent conduct, and that coverage
   27
        is further barred or limited by exclusions for contractual liability, for violations of
   28
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    1
        the Sections 17000 and 17200 of the California Business & Professions Code, and
    2
        for Unauthorized Personal Information Disclosure. Furthermore, there is no
    3
        coverage under the Ironshore Policy because the Tyndall Litigation does not qualify
    4
        as a Claim first made in the 2017-18 policy period: a reasonable person in USC’s
    5
        position as of June 30, 2017 would have believed that claims might be made against
    6
        USC, its Trustees and/or Dr. Tyndall. Indeed by that time, USC was determined to
    7
        terminate Dr. Tyndall, if it could not obtain his resignation, after a multi-prong
    8
        internal investigation revealed evidence so concerning to USC regarding
    9
        Dr. Tyndall’s practices in conducting gynecological examinations that USC refused
   10
        to allow Dr. Tyndall to return to work. These facts are also relevant to Count II,
   11
        where Ironshore seeks, in the alternative, to rescind the Ironshore Policy on the
   12
        ground that USC failed to disclose all facts material to the risk: specifically, the
   13
        allegations of racial discrimination and sexual abuse and harassment made against
   14
        Dr. Tyndall, the results of USC’s internal investigations, and USC’s decision to
   15
        terminate Dr. Tyndall’s employment. Ironshore has addressed these issues in
   16
        greater detail in its successful opposition to USC’s motion to dismiss Count II.
   17
        (ECF Nos. 34, 80.)
   18
              In “USC’s Contentions” below, USC discloses to Ironshore for the first time
   19
        that it seeks to litigate two other, completely separate coverage claims (the Kelly
   20
        and Christensen claims) in the guise of “setoff.” USC did not raise this during the
   21
        parties’ May 11 conference, or its proposal of bifurcation, and as USC
   22
        acknowledges Ironshore has not been given an opportunity to make coverage
   23
        determinations about these indemnification claims. The Kelly claim involves
   24
        allegations against a different doctor who allegedly abused scores of other patients.
   25
        The Christensen case is apparently a medical malpractice claim that would raise its
   26
        own distinct coverage issues. Nor can one assume (as USC does) that USC can
   27
        simply swap out the Kelly or Christensen claims for the Tyndall claims given that
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    1
        USC also has hundreds of millions of dollars in General Liability coverage that may
    2
        apply first, introducing other exhaustion issues, and there may be other coverage and
    3
        exhaustion issues even as to the Professional Liability coverage but which implicate
    4
        different facts, policy terms and law. This litigation should remain focused on the
    5
        issue at hand: a declaration of Ironshore’s rights and duties with respect to the
    6
        Tyndall claims.
    7
              Ironshore filed the Complaint on February 11, 2021. USC filed a motion to
    8
        dismiss Count II [ECF No. 30], which the Court denied [ECF No. 80]. The case
    9
        was stayed during the pendency of the underlying actions. On February 27, 2023,
   10
        the stay was lifted as to document discovery only, and the parties were directed not
   11
        to depose Dr. Tyndall absent further order of the Court. [ECF No. 108.] USC filed
   12
        an answer to the Complaint on April 13, 2023. [ECF No. 113.] Dr. Tyndall has not
   13
        answered the Complaint.
   14
              USC’s Contentions
   15
              In its Complaint, Ironshore is seeking rescission of the Healthcare
   16
        Professional Liability (“HPL”) policies it issued to USC for the time period July 1,
   17
        2017 - July 1, 2018 based on USC’s alleged failure to disclose its awareness
   18
        regarding allegations against Dr. Tyndall. However, USC did not have a duty to
   19
        make any such disclosures because (a) Ironshore did not request such information,
   20
        (b) USC had no reason to believe the allegations it was aware of would be material
   21
        to plaintiffs, and (c) USC was not aware at the time that Dr. Tyndall had allegedly
   22
        engaged in sexual abuse, as opposed to making inappropriate comments and other
   23
        forms of sexual harassment. Indeed, USC had no reason to believe that it would
   24
        receive any lawsuits or claims regarding Dr. Tyndall, let alone claims hitting
   25
        plaintiffs’ layer of excess HPL coverage, which began at $80,000,000.
   26
              The underlying lawsuits were filed only after the Los Angeles Times ran a
   27
        highly publicized article detailing Dr. Tyndall’s alleged misconduct. Had it not
   28
                                                     3
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    1
        been for the Los Angeles Times article, it is extremely unlikely that USC would have
    2
        been sued, and USC could not have anticipated that such an article would be
    3
        published when it bound coverage for the July 1, 2017 - July 1, 2018 policy year.
    4
        The Los Angeles Times article was published in May 2018, and was based on a non-
    5
        public investigation which began earlier in 2018. USC did not learn that the Los
    6
        Angeles Times was investigating Dr. Tyndall until March 2018. In its Complaint,
    7
        Ironshore implicitly admits that USC could not have expected to receive any
    8
        Tyndall related claims but for the publication of Los Angeles Times article, stating,
    9
        “USC believed that if the allegations of improper medical care and of sexual and
   10
        racial harassment over multiple years were to be disclosed to the public that Dr.
   11
        Tyndall and USC would be sued by former patients.” (Complaint, ¶ 112)(emphasis
   12
        added). The implication of course is that USC had no reason to expect that it would
   13
        be sued over Dr. Tyndall’s alleged conduct unless the alleged misconduct received
   14
        widespread public attention. This is fatal to Ironshore’s claims because USC did not
   15
        know and could not have known that the Los Angeles Times would run an article on
   16
        Tyndall at the time it bound coverage.
   17
              Dr. Tyndall had been a USC physician for approximately 27 years, from
   18
        approximately 1989 to 2017. In all that time, USC did not receive a single lawsuit
   19
        or demand for payment based on alleged sexual misconduct, harassment,
   20
        discrimination, or malpractice by Dr. Tyndall.
   21
              The lawsuits against Dr. Tyndall allege misconduct spanning most of the time
   22
        Dr. Tyndall practiced at USC. However, when USC bound coverage, the statute of
   23
        limitations for an action seeking damages for sexual assault was only two years.
   24
        Cal. Civ. Proc. Code §335.1. It was not until late 2019 – after the Los Angeles
   25
        Times article was published and lawsuits had been filed - that California enacted a
   26
        new statute of limitations for sexual assault, which revived time-barred claims
   27
        “arising out of a sexual assault or other inappropriate contact, communication, or
   28
                                                    4
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    1
        activity of a sexual nature by a physician occurring at a student health center
    2
        between January 1, 1988, and January 1, 2017,” and extended the limitations period
    3
        for sexual assault occurring on or after plaintiff’s 18th birthday to the later of 10
    4
        years of the date of the last act or attempted act, or 3 years from the date plaintiff
    5
        discovers or reasonably should have discovered that an injury or illness resulted
    6
        from an act or attempted act. Cal. Civ. Proc. Code §340.16. USC could not have
    7
        foreseen these statutory enactments when it bound coverage.
    8
              In early 2017, Dr. Tyndall was terminated after USC determined that he had
    9
        violated university policy on racial and sexual harassment and failed to meet
   10
        professional medical standards. However, USC did not find, and was not aware,
   11
        that Tyndall had sexually abused patients, as later alleged by the Los Angeles Times
   12
        and in the underlying lawsuits.
   13
              Furthermore, Plaintiffs’ purported interest in the personnel action against
   14
        Dr. Tyndall smacks of Monday morning quarterbacking. Although the HPL policies
   15
        at issue provide coverage for sexual abuse, their primary purpose is to insure USC
   16
        and its physicians against medical malpractice claims. USC is one of Southern
   17
        California’s major medical providers, which owns and operates Keck Medicine of
   18
        USC, the Norris Comprehensive Medical Center, the Engemann Student Health
   19
        Center and other medical facilities. Accordingly, the information that USC
   20
        provided to its HPL carriers before binding coverage was focused on its medical
   21
        operations and the malpractice claims it had received, not personnel actions or
   22
        findings of misconduct by physicians or other employees. Neither Ironshore nor
   23
        any other insurer contends that the information provided by USC was false, or that
   24
        USC’s HPL carriers asked for but did not receive information about USC’s
   25
        personnel actions or findings of sexual harassment.
   26
              Accordingly, Ironshore cannot demonstrate that USC concealed information
   27
        about Dr. Tyndall, as it alleges.
   28
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    1
              Ironshore’s declaratory relief claims assert that various terms of the policies
    2
        preclude coverage for certain claims or portions of claims. Most of the underlying
    3
        lawsuits fit squarely within the coverage grants of the HPL policies. In addition, the
    4
        settlements of the underlying lawsuits totaled in excess of $1 billion, more than
    5
        enough to exhaust Ironshore’s coverage obligations even if Ironshore is able to
    6
        establish that some portion of the settlements should be allocated to claims which
    7
        are not covered, a position USC disputes.
    8
              USC has also asserted an affirmative defense of setoff to establish that
    9
        Ironshore would not be entitled to reimbursement even if Ironshore could establish
   10
        that the covered portion of the Tyndall claims was insufficient to exhaust the policy
   11
        limits, because Ironshore also had coverage obligations with respect to other claims,
   12
        for which Ironshore never made any insurance payments (because the Tyndall
   13
        claims exhausted the policies). The claims giving rise to the offset defense are
   14
        lawsuits involving alleged sexual abuse and other misconduct by Dr. Dennis Kelly,
   15
        including lawsuits filed in the Superior Court for the County of Los Angeles and
   16
        related under Case No. 19STCV04543 (the “Kelly Claims”), and the medical
   17
        malpractice lawsuit entitled Kenneth Christensen; Kimberly Christensen v. Rahul
   18
        Doshi M.D.; Keck Hospital of USC and Does 1-100, Los Angeles Superior Court
   19
        Case No. BC 706883 (the “Christensen Claim”). USC believes that discovery
   20
        related to the Kelly and Christensen Claims should be stayed and its setoff defense
   21
        bifurcated, as that defense will be moot if the Court finds in USC’s favor on the
   22
        Tyndall claims. USC disagrees with Ironshore’s position that it is not proper to
   23
        address the Christensen and Kelly Claims in this action. Ironshore’s concerns
   24
        regarding addressing the Kelly and Christensen Claims in this action should be
   25
        alleviated by USC’s request for bifurcation.
   26
   27
   28
                                                    6
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    1         2.    Timing and Form of Initial Disclosures
    2         Ironshore and USC have agreed to exchange their initial disclosure statements

    3 on or before May 26, 2023.
    4         3.    Discovery Plan
    5         Ironshore and USC have conferred about a discovery schedule, but have not

    6 reached agreement on all points, as set forth below. Dr. Tyndall’s position is that he
    7 cannot agree to a discovery schedule that applies to him, and in particular, the
    8 proposed discovery and expert cut off dates below, given the stays on discovery that
    9 remains in place, pending his criminal matter. It is Ironshore’s position that,
   10 although Dr. Tyndall may not be deposed absent further order of the Court [ECF
   11 No. 108], he can otherwise participate in setting a schedule and in other pretrial
   12 matters.
   13       USC’s proposal with respect to the dates suggested below is based on the

   14 assumption that this action will eventually be consolidated with the two related
   15 cases involving USC’s healthcare professional liability insurers. The schedule
   16 would require all dispositive motions, oppositions and replies be filed on the same
   17 date. Accordingly, USC has proposed an extended amount of time to file
   18 oppositions and replies because it will be required to work on and file the motions
   19 with respect to each party simultaneously. Should the cases be consolidated, USC
   20 requests leave to file a separate motion for summary judgment against each of the
   21 three insurers, rather than to file only one motion that pertains to all three. Each of
   22 the three plaintiffs should be permitted to file one motion for summary judgment.
   23        As to Dr. Tyndall, USC suggests that the action be stayed and severed so that

   24 USC’s case may proceed to trial. Alternatively, the court should decline to set a
   25 trial date, because it is currently unclear when Dr. Tyndall’s criminal proceeding
   26 will be completed.
   27
   28
                                                    7
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     1
     2
          Event                                Ironshore Proposal        USC Proposal
     3
          Close of fact discovery              May 1, 2024               May 1, 2024
     4
          Expert disclosures                   May 31, 2024              May 31, 2024
     5
          Rebuttal expert disclosures          July 1, 2024              July 1, 2024
     6
          Close of expert discovery            August 1, 2024            August 1, 2024
     7
          Dispositive motions deadline         September 3, 2024         September 3, 2024
     8
          Oppositions to dispositive motions October 10, 2024            November 25, 2024
     9
          Reply to dispositive motions         November 8, 2024          December 20, 2024
   10
          Hearing on dispositive motions       December 9, 2024          January 10, 2025
   11
          Daubert motions deadline             September 3, 2024         January 27, 2025
   12
          Oppositions to Daubert motions       October 10, 2024          February 24, 2025
   13
          Reply to Daubert motions             November 8, 2024          March 10, 2025
   14
          Hearing on Daubert motions           December 9, 2024          March 17, 2025
   15
          Mediation completion date            November 22, 2024         January 10, 2025
   16
          Pretrial conference                  April 7, 2025             TBD Depending on
   17
                                                                         Tyndall’s status.
   18
   19          4.     Subjects for Discovery
               Ironshore: At this time, the subjects for Ironshore’s discovery include the
   20
         following: (1) the timing and scope of USC’s knowledge of complaints by students
   21
         and USC employees of alleged racial discrimination and sexual harassment by
   22
         Dr. Tyndall; (2) oral and written communications between USC and/or its insurance
   23
         brokers, on one hand, and carriers, on the other regarding USC’s procurement of
   24
         excess healthcare professional liability coverage for the July 1, 2017 to July 1, 2018
   25
         policy period; (3) oral and written communications between (a) USC and/or its
   26
         insurance brokers and (b) BETA Risk Management Authority (“BETA”) regarding
   27
         USC’s procurement of primary healthcare professional liability coverage for the
   28
                                                     8
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     1
         July 1, 2017 to July 1, 2018 policy period; (4) USC’s investigations into complaints
     2
         by students and USC employees of alleged racial discrimination or sexual
     3
         harassment by Dr. Tyndall; (5) investigations by USC’s outside vendors into
     4
         complaints by students and USC employees of alleged racial discrimination and
     5
         sexual harassment by Dr. Tyndall and the vendor’s findings; (6) notice by USC
     6
         and/or its insurance brokers or other representatives to Ironshore and other insurance
     7
         carriers of student and employee complaints of alleged racial discrimination or
     8
         sexual harassment by Dr. Tyndall; (7) notice by USC and/or its insurance brokers or
     9
         other representatives to Ironshore and other insurance carriers of the circumstances
   10
         of Dr. Tyndall’s resignation from USC effective on or about June 30, 2017; (8) the
   11
         circumstances of Dr. Tyndall’s resignation from USC effective on or about June 30,
   12
         2017; (9) USC’s policies, practices, and procedures for notifying insurance carriers
   13
         of potential insurance claims; (10) the allocation of the Tyndall settlements between
   14
         negligence-based putative claims and other claims; (11) the bases for Tier One
   15
         awards and the amount of the Tier One settlements; (12) procurement of discovery
   16
         responses and documents produced in the underlying state and federal lawsuits filed
   17
         against USC and Dr. Tyndall arising out of allegations of racial discrimination or
   18
         sexual harassment by Dr. Tyndall; (13) the exhaustion of underlying limits by
   19
         insurers; (14) the identities of the natural persons at USC or USC’s agents who were
   20
         involved in (a) procuring insurance for the 2017-18 policy period; (b) investigation
   21
         allegations concerning Dr. Tyndall; and/or (c) the internal decision to terminate Dr.
   22
         Tyndall or obtain his resignation; (15) the allocation of Tyndall litigation
   23
         settlements to persons who alleged wrongful acts that potentially qualify as Privacy
   24
         Breach Wrongful Acts or an Unauthorized Personal Information Disclosure as
   25
         defined by the Ironshore Policy; (16) USC’s knowledge of Dr. Tyndall’s request for
   26
         reinstatement, USC’s complaint to the Medical Board, and the Los Angeles Times
   27
         investigation into the Tyndall allegations; (17) any contractual obligation to defend
   28
                                                      9
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     1
         or indemnify Dr. Tyndall, the USC Trustees, or others. As this case proceeds,
     2
         investigation and discovery may reveal further areas for discovery that may be
     3
         undertaken by Ironshore.
     4
               In addition to requests for documents from USC, Ironshore expects to serve
     5
         document subpoenas on USC’s insurance brokers. If the related cases are
     6
         consolidated, Ironshore will work with the other carriers to avoid duplication.
     7
         Ironshore also plans to take lay witness depositions, including: Stacy Bratcher,
     8
         Ainsley Carry, Carol Mauch Amir, Gail Ford, Laura LaCorte, Collin Wedel, Mary
     9
         Winterburn Sciarra, Thomas E. Jackiewicz, Gretchen Dahlinger Means Gaspari,
   10
         Karen Nutter, Tatiana Small, Lil Delcampo, Kelly Bendell, Charles Sipkins, Dawn
   11
         Kennedy, Tsasia Mercado, Christian Gunning, Brenda Maceo, and (upon leave of
   12
         the Court) Dr. Tyndall. Additional witnesses may be identified once Ironshore has
   13
         received document discovery from USC.
   14
               The Kelly and Christiansen claims are outside of this action, and USC never
   15
         disclosed its position that these claims have any relevance, or its bifurcation
   16
         proposal, until May 24, 2023. Litigating coverage for two entirely new, separate
   17
         cases would expand discovery enormously.
   18
               USC: USC intends to take discovery from Ironshore on various issues
   19
         relating to its healthcare professional liability insurance policies, including its
   20
         underwriting of such policies, what information is material to its underwriting
   21
         decision, the application process, claims reporting procedures and its procedures
   22
         regarding analysis of claims. USC also intends to take discovery relating
   23
         specifically to the underwriting of the policies at issue in this action, Ironshore’s
   24
         dealings with USC and its agent, Chivaroli & Associates, and negotiations regarding
   25
         USC’s policies with Ironshore. USC intends to take both written discovery and the
   26
         depositions of Ironshore’s witnesses. USC also intends to take discovery of
   27
         Ironshore’s dealings with other insureds, to demonstrate that Ironshore was not
   28
                                                       10
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     1
         interested in personnel actions or adverse findings concerning physicians when it
     2
         underwrote and issued the HPL coverage at issue. Finally, USC intends to take
     3
         discovery with respect to the Kelly and Christensen claims, if the action is not
     4
         bifurcated and stayed as to those claims. If the action is bifurcated, discovery will
     5
         not be expanded by the Kelly and Christensen claims.
     6
               Dr. Tyndall: Dr. Tyndall continues to object to any discovery, including
     7
         depositions of the witnesses listed in Ironshore’s disclosure, to the extent that this
     8
         discovery would inquire into the witnesses’ investigation into or knowledge of the
     9
         alleged acts giving rise to Dr. Tyndall’s criminal prosecution, as reflected in the
   10
         Court’s Minute Order of February 27, 2023.
   11
               5.     Electronically Stored Information
   12
               Unless otherwise stipulated or ordered by the Court, the parties agree to
   13
         produce electronically stored information in conformance with Rule 34.
   14
               6.     Confidentiality, Privilege and Work-Product Issues
   15
               A Protective Order has been entered in this Action. [ECF No. 40.] The
   16
         parties expect that issues concerning claims of attorney-client privilege and work
   17
         product protection will presented.
   18
               7.     Additional Limitations on Discovery
   19
               Interrogatories:
   20
               Ironshore seeks to extend the number of interrogatories that each party can
   21
         serve without further order of the Court from 25 to 40. Ironshore expects to need
   22
         separate interrogatories to inquire into the bases of USC’s 22 separate affirmative
   23
         defenses directed to Ironshore. Even if this case is consolidated with the related
   24
         cases, Ironshore will need more than 3 additional interrogatories to address the other
   25
         issues in this action and prepare its case for summary judgment and trial. Ironshore
   26
         plans to coordinate its interrogatories with Lloyds and NACIC if the cases are
   27
         consolidate to avoid duplication, however 3 (or 9) interrogatories are insufficient to
   28
                                                      11
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     1
         address the common issues, let alone the Ironshore-specific issues in the case.
     2
         Ironshore wishes to avoid the expense and delay of discovery motion practice by
     3
         addressing the issue now. Furthermore, USC’s position is undermined by its
     4
         description of the discovery it intends to take from Ironshore (above). The fact that
     5
         USC has already served 107 separate document requests on Ironshore demonstrates
     6
         that USC considers this to be a case involving extensive discovery.
     7
               USC opposes Ironshore’s request and contends that the statutory limit of 25
     8
         interrogatories is more than adequate even if this case is consolidated with the
     9
         related cases, all of which relate to the same set of facts. There is no reason why
   10
         USC should be required to respond to as many as 120 interrogatories in three related
   11
         cases with overlapping, and in some cases identical, claims, defenses and issues.
   12
               Depositions:
   13
               Ironshore proposes that if this case is consolidated with the related cases, that
   14
         depositions of USC witnesses shall be limited to 14 hours, and that each party may
   15
         take 10 depositions without further leave of the Court. Absent consolidation,
   16
         Ironshore seeks leave to take up to 20 lay witness depositions without further leave
   17
         of the Court. USC is a large organization and numerous persons were involved in
   18
         the internal investigations into the allegations regarding Dr. Tyndall, in responding
   19
         to the Los Angeles Times investigation, and in procuring insurance and reporting
   20
         claims. In addition, the case presents issues of allocation of the settlements among
   21
         the causes of action and plaintiffs. Ironshore has already identified 19 potential lay
   22
         witnesses (above), not counting Rule 30(b)(6) witnesses, and will likely identify
   23
         others once USC produces documents. USC’s contention below that “each case is
   24
         based on the same set of facts” is not relevant to Ironshore’s request for 20
   25
         depositions because Ironshore presently makes that request in the event that this
   26
         case is not consolidated with the related cases; if the cases are consolidated,
   27
   28
                                                     12
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     1
         Ironshore does not seek at this time to exceed the Rules’ limit (while reserving the
     2
         right to request additional depositions if the need arises).
     3
                USC contends that Ironshore’s request to take (1) 20 lay witness depositions
     4
         without leave of court if not consolidated, or (2) 10 lay witness depositions if
     5
         consolidated (presumably with each other plaintiff also taking 10 depositions), is
     6
         excessive. USC further contends that depositions of USC witnesses should, in the
     7
         first instance, be limited to the statutory seven hours, even if the case is
     8
         consolidated. The parties can revisit extending the time on a case by case basis,
     9
         should it become reasonably necessary. However, a blanket extension which
   10
         applies to witnesses who have not even been identified would be inappropriate.
   11
                USC contends that consolidation of the cases does not warrant discovery
   12
         beyond the statutory limits, as each case is based on the same set of facts and
   13
         contains the same allegations against USC. The purpose of consolidation is to
   14
         streamline discovery, not to expand it. Ironshore’s proposal puts USC at a severe
   15
         disadvantage when it comes to discovery in that USC will only be permitted to take
   16
         10 depositions, while potentially having to defend 30. This is obviously unfair.
   17
                Furthermore, the list of deponents Ironshore has included above is excessive,
   18
         and includes individuals who have little, if any, knowledge regarding the issues in
   19
         this action.
   20
                USC further contends that if the cases are consolidated, the two Lloyd’s of
   21
         London syndicates that are plaintiffs in that action should be treated as one party for
   22
         purposes of discovery limits.
   23
                8.      Manual for Complex Litigation
   24
                The parties do not believe it necessary to use the procedures of the Manual for
   25
         Complex Litigation.
   26
   27
   28
                                                      13
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     1        9.     Settlement/Alternative Dispute Resolution (ADR)
     2        The parties select ADR Procedure No. 3 (private mediation). The parties

     3 believe that the mediation session should occur after briefing on the dispositive
     4 motions is complete.
     5        10.    Trial Estimate
     6        The parties estimate a three to four week trial if this action is consolidated for

     7 all purposes with the related actions. If the cases are not consolidated for purposes
     8 of trial, the parties estimate a two week trial for this case.
     9        11.    Additional Parties
   10         The parties do not anticipate joining additional parties at this time.

   11    Dated: May 25, 2022
   12                                               ISAACS FRIEDBERG LLP
         HANGLEY ARONCHICK SEGAL
   13    PUDLIN & SCHILLER
                                                    /s/ Jerome H. Friedberg
   14                                               Jeffrey B. Isaacs (SBN 117104)
         /s/ Ronald P. Schiller
   15    Ronald P. Schiller (pro hac vice)          Jerome H. Friedberg (SBN 125663)
         Sharon F. McKee (pro hac vice)             Stacey Zill (SBN 177268)
   16
         Thomas N. Brown (pro hac vice)
   17                                               Attorneys for Defendant University of
         KLINEDINST PC                              Southern California
   18    Paul H. Burleigh, Bar No. 112512
   19
         Attorneys for Plaintiff Ironshore
   20    Specialty Insurance Company
   21
         TAYLOR DEMARCO LLP
   22
   23    /s/ N. Denise Taylor
         N. Denise Taylor (SBN 101434)
   24
   25    Attorneys for George R. Tyndall
   26
   27
   28
                                                    14
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     1
                                               ATTESTATION
     2
     3
               Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other signatories
     4
         listed, and on whose behalf the filing is submitted, concur in the filing’s content and
     5
         have authorized the filing.
     6
     7
         Dated: May 25, 2023                     HANGLEY ARONCHICK SEGAL
     8                                           PUDLIN & SCHILLER
     9
                                                 /s/ Ronald P. Schiller
   10                                            Ronald P. Schiller (pro hac vice)
   11                                            Sharon F. McKee (pro hac vice)
                                                 Thomas N. Brown (pro hac vice)
   12
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